    Case 23-11548-pmm             Doc 6 Filed 05/30/23 Entered 05/30/23 11:02:24                     Desc Order
                                    Requiring Documents Page 1 of 1
                       UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF PENNSYLVANIA

   In Re:                                              Chapter: 11
        344 South Street
Corporation
                            Debtor(s)                  Bankruptcy No: 23−11548−pmm

                                        ORDER


    AND NOW, this 30th day of May, 2023 , the debtor having failed to file or submit with the
petition all of the documents required by Fed. R. Bankr. P. 1007,

  It is hereby ORDERED that:

 1. This case MAY BE DISMISSED WITHOUT FURTHER NOTICE if the documents listed
below are not filed by deadline also listed below:

               Documents and Deadline

               Attorney Disclosure statement due 6/9/2023
               Matrix List of Creditors due 6/2/2023
               Schedule A/B due 6/9/2023
               Schedule D due 6/9/2023
               Schedules E/F due 6/9/2023
               Schedule G due 6/9/2023
               Schedule H due 6/9/2023
               Small Business Tax Return or a Statement Pursuant to 11:1116 (B) that no such
               document has been prepared is due 6/2/2023
               Statement of Financial Affairs due 6/9/2023
               Summary of Assets and Liabilities due 6/9/2023
               20 Largest Unsecured Creditors due 6/9/2023
               Small Business Balance Sheet or a Statement Pursuant to 11:1116 (B) that no such
               document has been prepared is due 6/2/203
               Small Business Cash Flow Statement or a Statement Pursuant to 11:1116 (B) that no
               such document has been prepared is due 6/2/203
               Small Business Statement of Operations Pursuant to 11:1116 (B) that no such
               document has been prepared is due 6/2/2023

  2. Any request for an extension of time must be filed prior to the expiration of the deadlines listed
above in Paragraph 1.




                                                                                           By the Court

                                                                                     Patricia M. Mayer
                                                               Judge , United States Bankruptcy Court
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                                                                                                             Form 130
